            Case 2:08-cr-00468-KJM Document 75 Filed 12/24/09 Page 1 of 2


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   JEFFREY L. STANIELS, #91413
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CANDIT SAVA, JR.
 7
 8
 9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )       2:08-CR-0468 MCE
                                     )
13                  Plaintiff,       )
                                     )       STIPULATION AND ORDER RE
14        v.                         )       PHOTOCOPYING OF PASSPORT
                                     )       OF DEFENDANT CANDIT SAVA, JR.
15   MARIA SANTA,,                   )
     VIRGIL SANTA, and               )
16   CANDIT SAVA, JR.,               )
                                     )       Judge: Hon. Edmund F. Brennan
17                  Defendants.      )
     _______________________________ )
18
19
20         IT IS HEREBY STIPULATED between plaintiff, United States of America,
21   and defendant Candit Sava, Jr., that the Clerk of the Court or any
22   Pretrial Services Office may photocopy the passport of Candit Sava, Jr.,
23   which Mr. Sava surrendered to the Clerk of the Court as a condition of
24   pretrial release, and provide a photocopy of the passport to Candit Sava,
25   Jr., or to his attorney.
26         On December 23, 2009, Pretrial Services Officer Rebecca Fidelman
27   advised undersigned defense counsel that Mr. Sava requires a photocopy of
28   his   passport   to   assist   in   resolving   an   issue   concerning   a   birth
           Case 2:08-cr-00468-KJM Document 75 Filed 12/24/09 Page 2 of 2


 1   certificate.   Ms. Fidelman asked that an order be issued permitting her
 2   or the Clerk’s office to photocopy the passport so that Mr. Sava can use
 3   the copy to resolve the issue.       Counsel for the government agreed the
 4   passport could be copied as set forth herein.
 5                                    DANIEL J. BRODERICK
                                      Federal Defender
 6
 7   DATED: December 23, 2009         /s/ T. Zindel
                                      TIMOTHY ZINDEL for JEFF STANIELS
 8                                    Assistant Federal Defender
                                      Attorney for CANDIT SAVA, JR.
 9
10
     DATES: December 23, 2009         BENJAMIN B. WAGNER
11                                    United States Attorney
12
13                              By:   /s/ T. Zindel
                                      MATTHEW STEGMAN
14                                    Assistant U.S. Attorney
15
16                                     O R D E R
17        IT IS SO ORDERED.
18   DATE: December 24, 2009
19
20
21
22
23
24
25
26
27
28
